      Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 1 of 85
              E-FILED 2023 SEP 20 2:56 PM WARREN - CLERK OF DISTRICT COURT




            IN THE IOWA DISTRICT COURT IN AND FOR WARREN COUNTY


 CITY OF INDIANOLA, IOWA,                         Case No. _______________

         Petitioner,

 v.                                                           ORIGINAL NOTICE

 CARRIE WALKER, UNITED STATES
 DEPARTMENT OF AGRICULTURE,
 WARREN COUNTY, IOWA, AND ACC
 709, LLC,

         Respondents.


TO THE ABOVE-NAMED RESPONDENTS:

        You are notified that a Petition has been filed in the office of the Clerk of this Court, naming
you as the Respondents in this action. A copy of the Petition (and any documents filed with it) is
attached to this notice. The attorney for the Petitioner is Michael W. Heilman, whose address is
6701 Westown Pkwy, Suite 100, West Des Moines, IA 50266 and phone number is (5l5) 274-
l450; facsimile number (5l5) 274-l488.

        You are further notified that the above case has been filed in a county that utilizes electronic
filing. You must serve a motion or answer within 20 days after the service of this Original Notice
upon you and, within a reasonable time thereafter, file your motion or answer electronically with
the Iowa Court System. If you do not, judgment by default may be rendered against you for the
relief demanded in the Petition. See page 2 regarding Iowa Court Rules Chapter 16 for general
rules and information on electronic filing, and Chapter 16 Division VI regarding the protection of
personal information in court filings.

        If you require the assistance of auxiliary aids or services to participate in court because of
a disability, immediately call your district ADA coordinator at 515-286-3394. (If you are hearing
impaired, call Relay Iowa TTY at l-800-735-2942).



                                                        CLERK OF COURT
                                                        Warren County Courthouse
                                                        Indianola, Iowa 50125

IMPORTANT

     YOU ARE ADVISED TO SEEK LEGAL ADVICE AT ONCE TO PROTECT YOUR
INTERESTS.
               Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 2 of 85
                        E-FILED 2023 SEP 21 2:32 PM WARREN - CLERK OF DISTRICT COURT




Iowa Judicial Branch                                               Case No.       EQCV039949
                                                                   County         Warren

Case Title     CITY OF INDIANOLA V CARRIE WALKER

You must file your Appearance and Answer on the Iowa Judicial Branch eFile System, unless the attached Petition and
Original Notice contains a hearing date for your appearance, or unless the court has excused you from filing electronically
(see Iowa Court Rule 16.302).

Register for the eFile System at www.iowacourts.state.ia.us/Efile to file and view documents in your case and to receive
notices from the court.

For general rules and information on electronic filing, refer to the Iowa Rules of Electronic Procedure in chapter 16 of the
Iowa Court Rules at www.legis.iowa.gov/docs/ACO/CourtRulesChapter/16.pdf.

Court filings are public documents and may contain personal information that should always be kept confidential. For the
rules on protecting personal information, refer to Division VI of chapter 16 of the Iowa Court Rules and to the Iowa
Judicial Branch website at www.iowacourts.gov/for-the-public/representing-yourself/protect-personal-information/.

Scheduled Hearing:




If you need assistance to participate in court due to a disability, call the disability access coordinator at (515) 286-3394 .
Persons who are hearing or speech impaired may call Relay Iowa TTY (1-800-735-2942). For more information, see
www.iowacourts.gov/for-the-public/ada/. Disability access coordinators cannot provide legal advice.

Date Issued 09/21/2023 02:32:56 PM




District Clerk of Court or/by Clerk's Designee of Warren      County
 /s/ Kelly Junkmann
 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 3 of 85
              E-FILED 2023 SEP 20 2:56 PM WARREN - CLERK OF DISTRICT COURT




          IN THE IOWA DISTRICT COURT IN AND FOR WARREN COUNTY


 CITY OF INDIANOLA, IOWA,                          Case No. _______________

          Petitioner,

 v.                                                         PETITION IN EQUITY

 CARRIE WALKER, UNITED STATES                                   (LIS PENDENS)
 DEPARTMENT OF AGRICULTURE,
 WARREN COUNTY, IOWA, AND ACC
 709, LLC,

          Respondents.


         Comes now the petitioner, city of Indianola, Iowa, and for its petition for title to

abandoned property, states to the court as follows:

                                                PARTIES

         1.       Petitioner, the city of Indianola, Iowa, is a municipality in the state of Iowa.

         2.       Respondent, Carrie Walker, is an Owner or Interested Person, as those terms

are defined by Iowa Code chapter 657A, of real property locally known as 1001 Caroline

Terrace, Indianola, IA, and legally described as:

      Lot 33 in Green Hills of Indianola, an Official Replat, now included in and forming a

      part of the City of Indianola, Warren County, Iowa.

(the “Property”) and certain buildings and/or structures located thereon.

         3.       Respondent United States Department of Agriculture, as Lender, may claim

an interest in the property by virtue of a mortgage recorded on September 23, 2004 in Book

2004 Page 610749 in the Warre County Recorder’s Office.

         4.       Respondent Warren County is an Iowa County with its principal place of

business in Warren County, Iowa, and is joined in this action because it may claim some
  Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 4 of 85
             E-FILED 2023 SEP 20 2:56 PM WARREN - CLERK OF DISTRICT COURT




right, title or interest in the property by virtue of unpaid property taxes and special

assessments.

        5.       Respondent ACC 709, LLC is an Iowa Limited Liability Company doing

business in Warren County, Iowa, and is joined in this action because it may claim some

right, title or interest in the property by virtue of tax sale certificate 23-0135.

        6.       Respondents are each an Owner or Interested Person, as those terms are

defined by Iowa Code chapter 657A, of real property locally known as 1001 Caroline

Terrace, Indianola, IA, and legally described as:

                 Lot 33 in Green Hills of Indianola, an Official Replat, now included in and

                 forming a part of the City of Indianola, Warren County, Iowa.

(the “Property”) and certain buildings and/or structures located thereon.

                                   JURISDICTION AND VENUE

      7.         This court has jurisdiction over this action pursuant to Iowa code § 602.6202

and 657A.10A and 11.

       8.        Venue is proper in Warren County pursuant to Iowa code § 616.18.

                                  FACTUAL BACKGROUND

       9.        The respondents possesses, owns, controls or have an interest in the

property, buildings and/or structures more particularly set forth above.

       10.       The property is located within the city of Indianola, Iowa.

       11.       The buildings and/or structures which are the subject to this action are

used or intended to be used for residential purposes.

        12.      The buildings and/or structures which are the subject to this action have:
 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 5 of 85
          E-FILED 2023 SEP 20 2:56 PM WARREN - CLERK OF DISTRICT COURT




                a. remained vacant and have been in violation of the housing code of the

                    City of Indianola for a period of six consecutive months; and/or

                b. are in a dangerous or unsafe condition.

       13.      The petitioner herein has sufficient evidence to support the considerations

required by chapter 657A.10B(3), as follows:

             a. Property taxes and special assessments on the property are delinquent;

             b. Utilities are not currently being provided to the property and have not been

                active at the property for a number of years;

             c. The property has been unoccupied;

             d. Upon multiple inspections by the City of Indianola, the residence appears

                to be unoccupied and has had no known occupant for a number of years;

             e. The City has expended significant funds and efforts in attempting to

                maintain the property, and has abated dozens of violations at the City’s

                expense for such things as cutting overgrown vegetation.

       14.      The property and the buildings and/ structures contained thereon are

“abandoned” in that they have remained vacant and in violation of the housing code of the

city of Indianola for a period of six consecutive months.

       15.      The aforementioned constitutes a public nuisance, violation of the code of

ordinance of Indianola Iowa and a violation of Iowa code chapter 657A.

       16.      The respondents have not demonstrated a good-faith effort to restore the

property to productive use.

        WHEREFORE, the City of Indianola requests that the court find that each building

and Structure at issue in this case is abandoned, and issue an injunction requiring the owner
 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 6 of 85
          E-FILED 2023 SEP 20 2:56 PM WARREN - CLERK OF DISTRICT COURT




to correct the condition or to eliminate the violation, or another order that the court

considers necessary or appropriate to correct the condition or to eliminate the violation and

for the costs of this action, for its reasonable attorney’s fees, if allowed by law, and for

such further and other relief as the court deems appropriate and is allowed pursuant to Iowa

code chapter 657A.

       Petitioner further requests that the court enter judgment awarding title to the city

free and clear of any claims, liens, or encumbrances held by the respondents, for the relief

provided in Iowa code section 657A and for the costs of this action, for its reasonable

attorney’s fees, if allowed by law, and for such further and other relief as the court deems

appropriate.

                                              Respectfully Submitted,

                                              BRICK GENTRY, P.C.

                                          By: /s/ Michael Heilman____
                                             Michael W. Heilman, AT0012168
                                             6701 Westown Parkway, Suite 100
                                             West Des Moines, IA 50266
                                             Telephone: (515) 274-1450
                                             Facsimile: (515) 274-l488
                                             michael.heilmant@brickgentryaw.com
                                             ATTORNEY FOR PLAINTIFF
       Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 7 of 85
                 E-FILED 2023 NOV 13 10:49 AM WARREN - CLERK OF DISTRICT COURT




                      IN THE IOWA DISTRICT COURT FOR WARREN COUNTY


 CITY OF INDIANOLA, IOWA,                                    Case No. EQCV039949

          Plaintiff,

 vs.                                                         APPEARANCE OF
                                                             ALLISON M. STEUTERMAN
 CARRIE WALKER, UNITED STATES
 DEPARTMENT OF AGRICULTURE,
 WARREN COUNTY, IOWA and
 ACC 709, LLC

          Defendants.


         COMES NOW Allison M. Steuterman, of Brick Gentry, P.C., and hereby enters her

Appearance on behalf of Plaintiff, the City of Indianola, Iowa, in the above-captioned case.



                                                             Respectfully submitted,

                                                             BRICK GENTRY, P.C.

                                                       By:   /s/ Allison M. Steuterman
                                                             Allison M. Steuterman (AT0007558)
                                                             6701 Westown Parkway, Suite 100
                                                             West Des Moines, Iowa 50266
                                                             Telephone: 515.274.1450
                                                             Facsimile: 515.274.1488
                                                             allison.steuterman@brickgentrylaw.com
                                                             ATTORNEY FOR PLAINTIFF
      NOTICE OF ELECTRONIC FILING                            THE CITY OF INDIANOLA, IOWA
  Notice of Electronic Filing is sent through the
  Electronic Document Management System to all
  registered filers for the within case. A review of
  the filers in this matter indicates that all
  necessary parties have been or will be served.
  Any unregistered filer will be served with a
  paper copy and so noted in a Certificate of
  Service.

  Dated: November 13, 2023

  By:/s/ Lisa Anderson
                 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 8 of 85
                           E-FILED 2023 DEC 19 12:18 PM WARREN - CLERK OF DISTRICT COURT
                                         AFFIDAVIT OF SWORN I NVESTIC-J-4 ilVE EFFORTS

 Case:            Court:                                                County:                                 Job:
 EQCV039949       IN THE IOWA DISTRICT COURT FOR WARREN                                                         9681893
                  COUNTY
 Plaintiff / Petitioner:                                                Defendant / Respondent:
 City of Indianola                                                      Carrie Walker et al
 Received by:                                                           For:
 Brenda Phongsavanh                                                     Brick Gentry, PC
 To be served upon:
 Carrie Walker


I, Brenda Phongsavanh, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein


Recipient Name / Address:     Carrie Walker
Manner of Service:
Documents:                    Original Notice and Petition


Additional Comments:
Between 10/3/23-11/21/23, four different addresses have been attempted at:
5316 Meadow PI, West Des Moines, IA 50266-vacant house with lock box.
1001 Caroline Terrace, Indianola, Iowa 50125 -vacant house.
308 N N ST, INDIANOLA, IA 50125 - Man answered and stated she lives in Des Moines. This house is owned by Michael and Tina Bush, listed
as possible relatives on skip trace.
3004 SE 20TH ST, DES MOINES, IA 50320 -person who a.- s ,,ered door stated that Carrie Walker no longer lives there
Google search does not show a possible confirmation ol i r whereabouts.


Please request permission to subpoena Michael Bush a: :2U8 N N St, Indianola.


                                                                                     d ollore me by the affiant who is
                                                                         Subsc bed anol
                                                                         persenally


Brenda Phongsavanh                            Date                                               LeAtiettar
                                                                         Notary                         Or

                                                                               1‘            -
PO BOX 278                                                               Date                          Commission Expires
CARLISLE, IA 50047-0278
515-971-0687

                                                                                    OA<      EDWARD CHARLES BLEIMEHL V
                                                                               0              Commission Number 845082
                                                                               z
                                                                               . At             My Com issi n Expires
                                                                                    /OW Ix
 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 9 of 85
           E-FILED 2023 DEC 19 12:18 PM WARREN - CLERK OF DISTRICT COURT




        IN THE IOWA DISTRICT COURT IN AND FOR WARREN COUNTY


 CITY OF INDIANOLA, IOWA,                        Case No. EQCV039949

           Petitioner,

 v.                                                 MOTION FOR EXTENSION OF
                                                   TIME TO EFFECTUATE SERVICE
 CARRIE WALKER, UNITED STATES                              (Rule 1.302(5))
 DEPARTMENT OF AGRICULTURE,
 WARREN COUNTY, IOWA, AND ACC
 709, LLC,

           Respondents.


       Comes now the petitioner, city of Indianola, Iowa, for its Motion for Extension of

Time to Effectuate Service pursuant to Iowa Rule of Civil Procedure 1.302(5) states as

follows:

       1. The Petition in the above captioned matter was filed on September 21, 2023.

       2. Ninety days from filing is December 20, 2023.

       3. Despite diligent investigative and service efforts, the process server, Brenda

             Phongsavanh, hired to effectuate service on Defendant Carrie Walker, has been

             unable to effectuate service. See attached Affidavit of Sworn Investigative

             Efforts.

       4. Pursuant to Iowa Rule of Civil Procedure 1.302(5), Plaintiff requests additional

             time to effectuate service upon Defendant Carrie Walker of at least sixty days,

             in case alternate service, including via publication, is required.

WHEREFORE Pursuant to Iowa Rule of Civil Procedure 1.302(5), Plaintiff requests

additional time to effectuate service upon Defendant Carrie Walker of at least sixty days.
           Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 10 of 85
                      E-FILED 2023 DEC 19 12:18 PM WARREN - CLERK OF DISTRICT COURT




                                                                Respectfully Submitted,

                                                                BRICK GENTRY, P.C.

                                                             By: /s/ Allison M. Steuterman____
                                                                Allison M. Steuterman (AT0007558)
        NOTICE OF ELECTRONIC FILING
                                                                6701 Westown Parkway, Suite 100
Notice of Electronic Filing is sent through the Electronic      West Des Moines, IA 50266
Document Management System to all registered filers             Telephone: (515) 274-1450
for the within case. A review of the filers in this matter
indicates that all necessary parties have been or will be
                                                                Facsimile: (515) 274-l488
served.                                                         asteuterman@brickgentryaw.com
                                                                ATTORNEY FOR PLAINTIFF
Dated: December 19, 2023

By:/s/ Allison M. Steuterman
                 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 11 of 85
                           E-FILED 2023 DEC 19 12:18 PM WARREN - CLERK OF DISTRICT COURT
                                         AFFIDAVIT OF SWORN I NVESTIC-J-4 ilVE EFFORTS

 Case:            Court:                                                County:                                 Job:
 EQCV039949       IN THE IOWA DISTRICT COURT FOR WARREN                                                         9681893
                  COUNTY
 Plaintiff / Petitioner:                                                Defendant / Respondent:
 City of Indianola                                                      Carrie Walker et al
 Received by:                                                           For:
 Brenda Phongsavanh                                                     Brick Gentry, PC
 To be served upon:
 Carrie Walker


I, Brenda Phongsavanh, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein


Recipient Name / Address:     Carrie Walker
Manner of Service:
Documents:                    Original Notice and Petition


Additional Comments:
Between 10/3/23-11/21/23, four different addresses have been attempted at:
5316 Meadow PI, West Des Moines, IA 50266-vacant house with lock box.
1001 Caroline Terrace, Indianola, Iowa 50125 -vacant house.
308 N N ST, INDIANOLA, IA 50125 - Man answered and stated she lives in Des Moines. This house is owned by Michael and Tina Bush, listed
as possible relatives on skip trace.
3004 SE 20TH ST, DES MOINES, IA 50320 -person who a.- s ,,ered door stated that Carrie Walker no longer lives there
Google search does not show a possible confirmation ol i r whereabouts.


Please request permission to subpoena Michael Bush a: :2U8 N N St, Indianola.


                                                                                     d ollore me by the affiant who is
                                                                         Subsc bed anol
                                                                         persenally


Brenda Phongsavanh                            Date                                               LeAtiettar
                                                                         Notary                         Or

                                                                               1‘            -
PO BOX 278                                                               Date                          Commission Expires
CARLISLE, IA 50047-0278
515-971-0687

                                                                                    OA<      EDWARD CHARLES BLEIMEHL V
                                                                               0              Commission Number 845082
                                                                               z
                                                                               . At             My Com issi n Expires
                                                                                    /OW Ix
             Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 12 of 85
                    E-FILED              EQCV039949 - 2023 DEC 22 11:36 AM              WARREN
                                            CLERK OF DISTRICT COURT                     Page 1 of 2

                         IOWA DISTRICT COURT IN AND FOR WARREN COUNTY

   CITY OF INDIANOLA
     Plaintiff
                                                                             05911 EQCV039949
   vs.
                                                                                     ORDER

CARRIE JONES
UNITES STATES DEPARTMENT OF
AGRICULTURE
ACC 709, LLC
WARREN COUNTY IOWA

      Defendant



Before the Court is the Motion for Extension of Time for Service. The Court finds that this Motion
should be granted.


IT IS THEREFORE ORDERED that Motion for Extension of Time for Service is GRANTED. The
Plaintiff shall have up to and including 2/22/24 to obtain service on the Defendant(s).




If you need assistance to participate in court due to a disability, call the disability coordinator at (515) 286-3394 or
information at https://www.iowacourts.gov/for-the-public/ada/. Persons who are hearing or speech impaired may call Relay
Iowa TTY (1-800-735-2942). Disability coordinators cannot provide legal advice.

5RCV01
 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 13 of 85
           E-FILED                     EQCV039949 - 2023 DEC 22 11:36 AM   WARREN
                                          CLERK OF DISTRICT COURT          Page 2 of 2




                                               State of Iowa Courts
Case Number                     Case Title
EQCV039949                      CITY OF INDIANOLA V CARRIE WALKER
Type:                           OTHER ORDER
                                                          So Ordered




Electronically signed on 2023-12-22 11:36:55
      Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 14 of 85
              E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT




               IN THE IOWA DISTRICT COURT FOR WARREN COUNTY

                                                )
CITY OF INDIANOLA, IOWA,                        )     Case No. EQCV039949
                                                )
        Plaintiff,                              )
                                                )
vs.                                             )
                                                )     MOTION FOR ALTERNATIVE
CARRIE WALKER, UNITED STATES                    )     SERVICE ON DEFENDANT
DEPARTMENT OF AGRICULTURE,                      )     CARRIE WALKER
WARREN COUNTY, IOWA, and                        )
ACC 709, LLC,                                   )
                                                )
        Defendants.                             )


       COMES NOW the Plaintiff, by and through the undersigned counsel, and in support of its

Motion, states to the court as follows:

         1.      On September 20, 2023, Plaintiff filed its Civil Infraction Citation against

Defendant, Carrie Walker.

         2.      Plaintiff sent the documents to its process server for service on Defendant

 Walker. See Attachment A – Affidavit of Investigative Efforts.

         3.      Plaintiff through process server, attempted service on the Defendant but was

 unsuccessful. See Attachment A – Affidavit of Investigative Efforts.

         4.      Plaintiff’s process server attempted to serve the Defendant on four occasions

 and at four different addresses. See Attachment A – Affidavit of Investigative Efforts.

         5.      On December 19, 2023, Plaintiff filed a Motion for Extension of Time to serve

 Defendant Walker.

         6.      Plaintiff served a subpoena on Michael Bush on January 11, 2024 in an attempt

 to obtain current contact information for Defendant Walker. See Attachment B – Subpoena.

         7.      As a result of same, Defendant Carrie Walker emailed undersigned counsel but



                                                1
   Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 15 of 85
             E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT




did not provide a telephone number or address. See Attachment C – Email Correspondence.

       8.        Defendant Walker agreed to accept service and a copy of the Petition, Original

Notice and an Acceptance of Service was emailed to Defendant Carrie Walker. See Attachment

C – Email Correspondence.

       9.        Despite additional attempts to communicate with Defenant Walker about the

Acceptance of Service, Defendant Walker has refused to respond. See Attachment C – Email

Correspondence.

       10.       It is clear that Defendant is intentionally avoiding service.

       11.       Based on the above, personal service cannot be had on Defendant Walker in the

State of Iowa.

       12.       No mailing address for Defendant Walker is known as the properties listed for

Defendant Walker are either vacant or Defendant Walker is stated to no longer reside there.

When counsel for Plaintiff requested an address, Defendant Walker stated she did not have an

address or phone number. A diligent inquiry has been made to ascertain it. See Attachment A

– Affidavit of Investigative Efforts; Attachment C – Email Correspondence; Attachment D –

Affidavit of Allison M. Steuterman.

       13.       As a result, Plaintiff respectfully requests that the Court allow Plaintiff to serve

the Defendant by publication pursuant to Iowa Rules of Civil Procedure 1.310 through 1.314

and that Plaintiff be excused from mailing the Original Notice to the last known address of

Defendant Walker, as same is unknown, pursuant to Iowa Rule of Civil Procedure 1.311.

       14.       Personal Service by Publication is appropriate under Iowa Rule of Civil

Procedure 1.310 and no party will be prejudiced by the granting of this Motion.

       15.       Per the Court’s Order on Plaintiff’s Motion for Extension of Time to Serve




                                                  2
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 16 of 85
                 E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT




 Defendant Walker, the deadline to serve Ms. Walker is February 22, 2024. As service via

 publication requires publication for three (3) consecutive weeks, Plaintiff requests to and until

 March 8, 2024 to effectuate service by publication pursuant to Iowa Rules of Civil Procedure

 1.310 through 1.314.

         WHEREFORE the Petitioner prays that the Court allow it to serve the Defendant by

Publication, that the Court waive mailing of the Original Notice, that the Court extend the deadline

to serve Defendant Walker to and until March 8, 2024, and for such further relief as this court

deems just and equitable under the premises.

                                                      Respectfully submitted,

                                                      BRICK GENTRY P.C.


                                                       /s/ Allison M. Steuterman
                                                      Allison M. Steuterman (AT0007558)
                                                      6701 Westown Parkway, Suite 100
                                                      West Des Moines, Iowa 50266
                                                      Telephone: (515) 274-1450
                                                      Facsimile: (515) 274-1488
                                                      allison.steuterman@brickgentrylaw.com
                                                      ATTORNEY FOR PLAINTIFF



     NOTICE OF ELECTRONIC FILING
 Notice of Electronic Filing is sent through the
 Electronic Document Management System to all
 registered filers for the within case. A review of
 the filers in this matter indicates that all
 necessary parties have been or will be served.
 Any unregistered filer will be served with a
 paper copy and so noted in a Certificate of
 Service.

 Dated: February 7, 2024

 By:/s/ Lisa Anderson




                                                         3
                 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 17 of 85
                           E-FILED 2023 DEC 19 12:18 PM WARREN - CLERK OF DISTRICT COURT
                                         AFFIDAVIT OF SWORN I NVESTIC-J-4 ilVE EFFORTS

 Case:            Court:                                                County:                                 Job:
 EQCV039949       IN THE IOWA DISTRICT COURT FOR WARREN                                                         9681893
                  COUNTY
 Plaintiff / Petitioner:                                                Defendant / Respondent:
 City of Indianola                                                      Carrie Walker et al
 Received by:                                                           For:
 Brenda Phongsavanh                                                     Brick Gentry, PC
 To be served upon:
 Carrie Walker


I, Brenda Phongsavanh, being duly sworn, depose and say: I am over the age of 18 years and not a party to this action, and that within the
boundaries of the state where service was effected, I was authorized by law to make service of the documents and informed said person of
the contents herein


Recipient Name / Address:     Carrie Walker
Manner of Service:
Documents:                    Original Notice and Petition


Additional Comments:
Between 10/3/23-11/21/23, four different addresses have been attempted at:
5316 Meadow PI, West Des Moines, IA 50266-vacant house with lock box.
1001 Caroline Terrace, Indianola, Iowa 50125 -vacant house.
308 N N ST, INDIANOLA, IA 50125 - Man answered and stated she lives in Des Moines. This house is owned by Michael and Tina Bush, listed
as possible relatives on skip trace.
3004 SE 20TH ST, DES MOINES, IA 50320 -person who a.- s ,,ered door stated that Carrie Walker no longer lives there
Google search does not show a possible confirmation ol i r whereabouts.


Please request permission to subpoena Michael Bush a: :2U8 N N St, Indianola.


                                                                                     d ollore me by the affiant who is
                                                                         Subsc bed anol
                                                                         persenally


Brenda Phongsavanh                            Date                                               LeAtiettar
                                                                         Notary                         Or

                                                                               1‘            -
PO BOX 278                                                               Date                          Commission Expires
CARLISLE, IA 50047-0278
515-971-0687

                                                                                    OA<      EDWARD CHARLES BLEIMEHL V
                                                                               0              Commission Number 845082
                                                                               z
                                                                               . At             My Com issi n Expires
                                                                                    /OW Ix
       Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 18 of 85
                 E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT




                     IN THE IOWA DISTRICT COURT FOR WARREN COUNTY


 CITY OF INDIANOLA,                                 Case No. EQCV039949

        Plaintiff,

 vs.
                                                    NOTICE OF SUBPOENA
 CARRIE WALKER,                                     DUCES TECUM AND
                                                    DEPOSITION TESTIMONY
        Defendant.


To:     MICHAEL AND TINA BUSH
        308 North N. Street
        Indianola, IA 50125

       YOU ARE COMMANDED to attend and testify via oral deposition before a certified
shorthand reporter, and produce designated documents, electronically stored information, or
tangible things in that person's possession, custody, or control, relating to:

        Required Information:        Current physical address for Carrie Walker

        Place:                       Brick Gentry P.C.
                                     c/o Allison M. Steuterman
                                     6701 Westown Parkway, Suite 100
                                     West Des Moines, IA 50266
                                     Phone: 515-274-1450
                                     Facsimile: 515-274-1488
                                     Provide via email to:
                                     allison.steuterman@brickgentrylaw.com

        Deposition Date:             January 19, 2024

*If the required information is received by mail, facsimile, or email (preferred) prior to
January 19, 2024, the deposition will be cancelled, and you will not be required to appear.

The name, address, e-mail, and telephone number of the attorney representing the Plaintiff, who
issues or requests this subpoena: Allison M. Steuterman, Brick Gentry P.C., 6701 Westown
Parkway, Suite 100, West Des Moines, IA 50266; phone: 515-274-1450; fax: 515-274-1488;
allison.steuterman@brickgentrylaw.com

        Subpoena Date:               January 10, 2024
        Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 19 of 85
                 E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT




                                                  PROOF OF SERVICE


This subpoena for (name of individual and title, if any)
was received by me on (date)                                                  .
 I personally served the subpoena on the individual at (place)
                                      on (date)                                          ; or
 I left the subpoena at the individual’s dwelling house or usual place of abode with
                            , a person residing therein who is at least 18 years old; or
 I served the subpoena on (name of individual)                                                             , who is
    designated by law to accept service of process on behalf of (name of organization)
                                                  on (date)                              ; or
 I returned the subpoena unexecuted because                                                                ; or
 Other (specify):


                                                     WITNESS FEES
 No witness fee requested or required under Iowa Code section 622.74.
 I have tendered to the witness fees for one day’s attendance in the amount of $                    and the mileage
    allowed by law in the amount of $                               , for a total of $                      .


My fees are $                         for travel and $              for services, for a total of $          .
I declare under penalty of perjury that this information is true.


Date:
                                               Server’s signature


                                               Printed name and title


                                               Server’s address


Additional information regarding attempted service, etc.:


                                           CERTIFICATE OF SERVICE

The undersigned hereby certifies that a genuine copy of the foregoing document was served upon the persons named
below and at the address indicated on the ___ day of ______, 20___ by the following method

Name and address of party or attorney:


                                                          Signature of server
       Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 20 of 85
                     E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT




                                                Iowa Rules of Civil Procedure 1.1701(4) and 1.1701(5)
1.1701(4) Protecting a person subject to a subpoena.
             a. Avoiding undue burden or expense; sanctions. A party or attorney responsible for issuing and serving a subpoena must take
reasonable steps to avoid imposing undue burden or expense on a person subject to the subpoena. The issuing court must enforce this duty and
impose an appropriate sanction, which may include lost earnings and reasonable attorney's fees, on a party or attorney who fails to comply.
             b. Command to produce materials or permit inspection.
             (1) Appearance not required. A person commanded to produce documents, electronically stored information, or tangible things, or to
permit the inspection of premises, need not appear in person at the place of production or inspection unless also commanded to appear for a
deposition, hearing, or trial.
             (2) Objections. A person commanded to produce documents or tangible things or to permit inspection may serve on the party or
attorney designated in the subpoena a written objection to inspecting, copying, testing or sampling any or all of the materials or to inspecting the
premises, or to producing electronically stored information in the form or forms requested. The objection must be served before the earlier of the
time specified for compliance or 14 days after the subpoena is served. If an objection is made, the following rules apply:
             1. At any time, on notice to the commanded person, the serving party may move the issuing court for an order compelling production
or inspection.
             2. These acts may be required only as directed in the order, and the order must protect a person who is neither a party nor a party's
officer from significant expense resulting from compliance.
             c. Attendance. Any party shall be permitted to attend at the same time and place and for the same purposes specified in the subpoena.
No prior notice of intent to attend is required.
             d. Quashing or modifying a subpoena.
             (1) When required. On timely motion, the issuing court must quash or modify a subpoena that:
             1. fails to allow a reasonable time to comply;
             2. requires a person who is neither a party nor a party's officer to travel more than 50 miles from where that person resides, is
employed, or regularly transacts business in person, except that a person may be ordered to attend trial anywhere within the state in which the
person is served with a subpoena;
             3. requires disclosure of privileged or other protected matter, if no exception or waiver applies; or
             4. subjects a person to undue burden.
             (2) When permitted. To protect a person subject to or affected by a subpoena, the issuing court may, on motion, quash or modify the
subpoena if it requires:
             1. disclosing a trade secret or other confidential research, development, or commercial information; or
             2. disclosing an unretained expert's opinion or information that does not describe specific occurrences in dispute and results from the
expert's study that was not requested by a party.
             3. a person who is neither a party nor a party’s officer to incur substantial expense to travel more than 50 miles to attend trial.
             (3) Specifying conditions as an alternative. In the circumstances described in rule 1.1701(4)(d)(2), the court may, instead of quashing
or modifying a subpoena, order appearance or production under specified conditions if the serving party:
             1. shows a substantial need for the testimony or material that cannot be otherwise met without undue hardship; and
             2. ensures that the subpoenaed person will be reasonably compensated.
1.1701(5) Duties in responding to a subpoena.
             a. Producing documents or electronically stored information. These procedures apply to producing documents or electronically stored
information:
             (1) Documents. A person responding to a subpoena to produce documents must produce them as they are kept in the ordinary course
of business or must organize and label them to correspond to the categories in the demand.
             (2) Form for producing electronically stored information not specified. If a subpoena does not specify a form for producing
electronically stored information, the person responding must produce it in a form or forms in which it is ordinarily maintained or in a reasonably
usable form or forms.
             (3) Electronically stored information produced in only one form. The person responding need not produce the same electronically
stored information in more than one form.
             (4) Inaccessible electronically stored information. The person responding need not provide discovery of electronically stored
information from sources that the person identifies as not reasonably accessible because of undue burden or cost. On motion to compel discovery
or for a protective order, the person responding must show that the information is not reasonably accessible because of undue burden or cost. If
that showing is made, the court may nonetheless order discovery from such sources if the requesting party shows good cause, considering the
limitations of rule 1.504(1)(b). The court may specify conditions for the discovery.
             b. Claiming privilege or protection.
             (1) Information withheld. A person withholding subpoenaed information under a claim that it is privileged or subject to protection as
trial-preparation material must:
             1. expressly make the claim; and
             2. describe the nature of the withheld documents, communications, or tangible things in a manner that, without revealing information
itself privileged or protected, will enable the parties to assess the claim.
             (2) Information produced. If information produced in response to a subpoena is subject to a claim of privilege or of protection as trial-
preparation material, the person making the claim may notify any party that received the information of the claim and the basis for it. After being
notified, a party must promptly return, sequester, or destroy the specified information and any copies it has; must not use or disclose the
information until the claim is resolved; must take reasonable steps to retrieve the information if the party disclosed it before being notified; and
may promptly present the information to the court under seal for a determination of the claim. The person who produced the information must
preserve the information until the claim is resolved.
   Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 21 of 85
               E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT


From:             Allison Steuterman
To:               Carrie Walker; Lisa Anderson
Subject:          Fwd: Carrie Walker
Date:             Monday, January 29, 2024 4:46:11 PM
Attachments:      24.01.19 Acceptance of Service Via Email by Carrie Walker.pdf
                  image001.png
                  23.09.20 Original Notice.pdf
                  23.09.20 Petition in Equity.pdf


Ms. Walker, see attached and below. I need the signed acceptance returned to me as soon as
possible and no later than Friday of this week or we will move forward with alternate service.

Allison Steuterman
Shareholder

Brick Gentry Law, PC
6701 Westown Parkway, Suite 100
West Des Moines, IA 50266
515-274-1450
www.brickgentrylaw.com

Confidentiality Notice: The information contained within this transmission (including all
attached files) contains confidential information belonging to the sender, which is legally
privileged. The information is intended only for the use of the individual or entity named
above. If you are not the intended recipient, you are hereby notified that any disclosure,
copying, distribution, or the taking of any action in reliance on or regarding the contents of
this information is strictly prohibited. If you have received this correspondence in error,
immediately notify the sender to secure its prompt return.

Circular 230 Disclaimer: To ensure compliance with Treasury Regulations governing written
tax advice, please be advised that any tax advice included in this communication, including
any attachments, is not intended, and cannot be used, for the purpose of (i) avoiding any
federal tax penalty or (ii) promoting, marketing, or recommending any transaction or matter
to another person.

From: Lisa Anderson <Lisa.Anderson@brickgentrylaw.com>
Sent: Friday, January 19, 2024 10:35:28 AM
To: walker2747@hotmail.com <walker2747@hotmail.com>
Cc: Allison Steuterman <Allison.Steuterman@brickgentrylaw.com>
Subject: FW: Carrie Walker

Ms. Walker,

Good morning. I am Allison Steuterman’s paralegal. Attached please find an Acceptance of
Service, Original Notice, and Petition at Equity as Allison has referenced in her email to you.
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 22 of 85
                  E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT




Please sign, date, and return the Acceptance of Service to me as soon as possible. You can
return by email, fax, or regular mail. Please see my signature block for fax number and
address. I look forward to hearing from you.

Thank you,

Lisa Anderson
Paralegal to Douglas A. Fulton and Allison M. Steuterman



6701 Westown Parkway, Ste 100
West Des Moines, IA 50266
Office: 515-274-1450
Fax: 515-274-1488

Lisa.Anderson@brickgentrylaw.com
www.brickgentrylaw.com


Confidentiality Notice: The information contained within this transmission (including all attached files) contains confidential information
belonging to the sender, which is legally privileged. The information is intended only for the use of the individual or entity named above.
If you are not the intended recipient, you are hereby notified that any disclosure, copying, distribution, or the taking of any action in
reliance on or regarding the contents of this information is strictly prohibited. If you have received this correspondence in error,
immediately notify the sender to secure its prompt return.

Circular 230 Disclaimer: To ensure compliance with Treasury Regulations governing written tax advice, please be advised that any tax
advice included in this communication, including any attachments, is not intended, and cannot be used, for the purpose of (i) avoiding
any federal tax penalty or (ii) promoting, marketing, or recommending any transaction or matter to another person.




From: Carrie Walker <walker2747@hotmail.com>
Sent: Thursday, January 18, 2024 5:28:34 PM
To: Allison Steuterman <Allison.Steuterman@brickgentrylaw.com>
Subject: Re: Carrie Walker


Email is fine.
Carrie

> On Jan 15, 2024, at 11:32 AM, Allison Steuterman
<Allison.Steuterman@brickgentrylaw.com> wrote:
>
> Ms. Walker
>
> The City of Indianola has filed a Civil Petition in which you are one of the Defendants. We
have been attempting to obtain personal service of the Original Notice and Petition on you.
Would you be willing to accept service of the Petition? I can send it to you via email with an
   Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 23 of 85
            E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT


acceptance of service for you to sign and return. Otherwise, would you please provide an
address at which we can obtain service for your?
>
> Allison Steuterman
> Shareholder
>
> Brick Gentry Law, PC
> 6701 Westown Parkway, Suite 100
> West Des Moines, IA 50266
> 515-274-1450
> www.brickgentrylaw.com
>
> Confidentiality Notice: The information contained within this transmission (including all
attached files) contains confidential information belonging to the sender, which is legally
privileged. The information is intended only for the use of the individual or entity named above.
If you are not the intended recipient, you are hereby notified that any disclosure, copying,
distribution, or the taking of any action in reliance on or regarding the contents of this
information is strictly prohibited. If you have received this correspondence in error,
immediately notify the sender to secure its prompt return.
>
> Circular 230 Disclaimer: To ensure compliance with Treasury Regulations governing written
tax advice, please be advised that any tax advice included in this communication, including
any attachments, is not intended, and cannot be used, for the purpose of (i) avoiding any
federal tax penalty or (ii) promoting, marketing, or recommending any transaction or matter to
another person.
>
>
> -----Original Message-----
> From: Carrie Walker <walker2747@hotmail.com>
> Sent: Sunday, January 14, 2024 5:50 PM
> To: Allison Steuterman <Allison.Steuterman@brickgentrylaw.com>
> Subject: Carrie Walker
>
>
> I received a message that you were trying to contact me. Mike Bush is not someone I am in
regular contact with. He was married to my sister who died over a year ago.
>
> I do not have a permanent address or phone number. The best way to reach me is via this
email address.
>
> Carrie Walker
>
      Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 24 of 85
                E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT




                IN THE IOWA DISTRICT COURT FOR WARREN COUNTY

                                                     )
CITY OF INDIANOLA, IOWA,                             )       Case No. EQCV039949
                                                     )
        Plaintiff,                                   )
                                                     )
vs.                                                  )
                                                     )       AFFIDAVIT IN SUPPORT OF
CARRIE WALKER, UNITED STATES                         )       MOTION FOR ALTERNATIVE
DEPARTMENT OF AGRICULTURE,                           )       SERVICE ON DEFENDANT
WARREN COUNTY, IOWA, and                             )       CARRIE WALKER
ACC 709, LLC,                                        )
                                                     )
        Defendants.                                  )


STATE OF IOWA                    )
                                 )       ss:
COUNTY OF DALLAS                 )

       I, Allison M. Steuterman, being first duly sworn, do hereby depose and state as follows:

       1.        I am an attorney licensed to practice law in the State of Iowa.

       2.        I represent the Plaintiff in this matter.

       3.        On September 20, 2023, Plaintiff filed its Civil Infraction Citation against

Defendant, Carrie Walker.

       4.        Plaintiff sent the documents to its process server for service on Defendant Walker.

       5.        Plaintiff through process server, attempted service on the Defendant but was

unsuccessful.

       6.        On December 19, 2023, Plaintiff filed a Motion for Extension of Time to serve

Defendant Walker.

       7.        Plaintiff served a subpoena on Michael Bush on January 11, 2024 in an attempt to

obtain current contact information for Defendant Walker. Attachment B to the Motion is a true

and accurate copy of the subpoena.



                                                     1
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 25 of 85
              E-FILED 2024 FEB 07 1:27 PM WARREN - CLERK OF DISTRICT COURT




       8.      As a result of same, Defendant Carrie Walker emailed undersigned counsel but did

not provide a telephone number or address. Attachment C is a true and accurate copy of the email

correspondence between the undersigned, paralegal Lisa Anderson for the undersigned, and a

person identifying herself as Defendant Walker.

       9.      Defendant Walker agreed to accept service and a copy of the Petition, Original

Notice, and an Acceptance of Service was emailed to Defendant Carrie Walker.

       10.     Despite additional attempts to communicate with Defendant Walker about the

Acceptance of Service, Defendant Walker has refused to respond.

       11.     No mailing address for Defendant Walker is known as the properties listed for

Defendant Walker are either vacant or Defendant Walker is stated to no longer reside there. When

counsel for Plaintiff requested an address, Defendant Walker stated she did not have an address or

phone number. A diligent inquiry has been made to ascertain it. See Attachment A – Affidavit of

Investigative Efforts; Attachment C – Email Correspondence.

       I certify under penalty of perjury and pursuant to the laws of the State of Iowa, per Iowa

Code 622.1, that the preceding is true and correct.




                                             _______________________
                                             Allison M. Steuterman (AT0007558)
                                             6701 Westown Parkway, Suite 100
                                             West Des Moines, Iowa 50266
                                             Telephone: (515) 274-1450
                                             Facsimile: (515) 274-1488
                                             allison.steuterman@brickgentrylaw.com
                                             ATTORNEY FOR PLAINTIFF




                                                  2
      Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 26 of 85
            E-FILED           EQCV039949 - 2024 FEB 07 03:53 PM           WARREN
                                 CLERK OF DISTRICT COURT                  Page 1 of 2



               IN THE IOWA DISTRICT COURT FOR WARREN COUNTY

                                               )
CITY OF INDIANOLA, IOWA,                       )     Case No. EQCV039949
                                               )
        Plaintiff,                             )
                                               )
vs.                                            )
                                               )     ORDER FOR ALTERNATIVE
CARRIE WALKER, UNITED STATES                   )     SERVICE ON DEFENDANT
DEPARTMENT OF AGRICULTURE,                     )     CARRIE WALKER
WARREN COUNTY, IOWA, and                       )
ACC 709, LLC,                                  )
                                               )
        Defendants.                            )



       NOW on this day, this matter comes before the Court on Plaintiff’s Motion for Alternative

Service, and the Court being fully advised of the premises finds that the Motion should be

GRANTED.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that Plaintiff may

effectuate service on the Defendant Carrie Walker by publication pursuant to Iowa Rules of Civil

Procedure 1.310 through 1.314.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff need not mail

the Original Notice to the last known mailing address for Defendant Carrie Walker pursuant to

Iowa Rule of Civil Procedure 1.311 as no such address is known.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that Plaintiff’s time to serve

Defendant Carrie Walker is extended to and until March 8, 2024.

       SO ORDERED.
 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 27 of 85
           E-FILED                     EQCV039949 - 2024 FEB 07 03:53 PM   WARREN
                                          CLERK OF DISTRICT COURT          Page 2 of 2




                                               State of Iowa Courts
Case Number                     Case Title
EQCV039949                      CITY OF INDIANOLA V CARRIE WALKER
Type:                           OTHER ORDER
                                                          So Ordered




Electronically signed on 2024-02-07 15:53:10
      Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 28 of 85
               E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT




              IN THE IOWA DISTRICT COURT IN AND FOR WARREN COUNTY


 CITY OF INDIANOLA, IOWA,                              Case No. EQCV039949

           Plaintiff,

 v.

 CARRIE WALKER, UNITED STATES
 DEPARTMENT OF AGRICULTURE,                           APPLICATION TO AWARD TITLE TO
 WARREN COUNTY, IOWA, and                                  ABANDONED PROPERTY
 ACC 709, LLC,                                              (Iowa Code § 657A.10B)

           Defendants.


       COMES NOW the Plaintiff, City of Indianola, Iowa, by and through its undersigned

counsel, and for its Application to Award Title to Abandoned Property, states to the Court as

follows:

       1.         On September 20, 2023, Plaintiff filed an Original Notice and Petition in Equity

pursuant to Iowa Code section 657A.10B for the property locally known as 1001 Caroline Terrace,

Indianola, Iowa, and legally described as:

       Lot 33 in Green Hills of Indianola, an Official Replat, now included in and forming
       a part of the City of Indianola, Warren County, Iowa, and certain buildings and/or
       structures located thereon.

(hereinafter referred to as the “Property”).

       2.         Respondent, United States Department of Agriculture (hereinafter “USDA”), as

Lender, may claim an interest in the Property by virtue of a mortgage recorded on September 23,

2004 in Book 2004, Page 610749 in the Office of the Warren County Recorder. USDA was served

the Original Notice and Petition on October 18, 2023.




                                                  1
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 29 of 85
             E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT




       3.      Respondent, Warren County, Iowa (hereinafter “Warren County”), may claim right,

title, or interest in the Property by virtue of unpaid property taxes and special assessments. Warren

County was served the Original Notice and Petition on October 4, 2023.

       4.      Respondent, ACC 709, LLC (hereinafter “ACC 709”), may claim right, title, or

interest in the Property by virtue of tax sale certificate 23-0135. ACC 709 was served the Original

Notice and Petition on October 4, 2023.

       5.      Respondent, Carrie Walker (hereinafter “Ms. Walker”), is an Owner or Interested

Person to the Property. Ms. Walker was served with the Original Notice and Petition by alternate

service via publication pursuant to the Court’s February 7, 2024 Order granting Plaintiff’s Motion

for Alternate Service. Plaintiff published the original notice and petition via publication by

publishing same in Record-Herald and Indianola Tribune for three (3) consecutive weeks, from

February 20, 2024 through March 5, 2024. Attached hereto as Exhibit 1 is a true and accurate

copy of the Proof of Publication.

       6.      Twenty days from the last date of publication has passed with no response or

answer from Ms. Walker.

       7.      Pursuant to the Verified Statement attached as Exhibit 2, the City has deemed this

Property abandoned and has declared this Property as dangerous or unsafe and failing to meet the

city’s building and housing codes as being fit for human habitation, occupancy, or use.

       8.      There are no other known mortgagees of record, lienholders of record, or other

known persons who hold an interest in the Property.

       9.      Iowa Code section 657A.10B(5) provides that:

       In lieu of the considerations in subsection 4 [relating to determining whether a
       property is abandoned], if the city or county can establish to the court’s satisfaction
       that all parties with an interest in the property have received proper notice and either
       consented to the entry of an order awarding title to the property to the city or county


                                                  2
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 30 of 85
             E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT




       or did not make a good-faith effort to comply with the order of the local housing or
       building code official within sixty days after the filing of the petition, the court shall
       enter judgment against the respondents granting the city or county title to the
       property.

       10.     The Property does not meet the city’s building and housing codes as being fit for

human habitation, occupancy, or use for a period of more than six (6) consecutive months.

       11.     The Property is still abandoned and in a dangerous or unsafe condition for a period

of more than six (6) consecutive months.

       12.     The utility services (water, gas, electricity, garbage collection) remain discontinued

and have not been active at the Property since January 2020.

       13.     Property taxes and special assessments on the Property are delinquent.

       14.     The Property has been unoccupied for a number of years.

       15.     The City has expended significant funds and efforts in attempting to maintain the

Property and has abated dozens of violations at the City’s expense for such things as cutting

overgrown vegetation.

       16.     The buildings on the Property are blighted, unsanitary, and in such a condition that

it is likely to cause sickness or disease because of inadequate maintenance, dilapidation, decay,

damage, faulty construction or arrangement, inadequate light, air, and/or sanitary facilities. True

and accurate photographs showing the condition of the Property are attached hereto as Exhibit 3.

       17.     The buildings on the Property are injurious to health and welfare, indecent,

unreasonable offensive to the senses, or an obstruction to the free use of property so as essentially

to interfere unreasonably with the comfortable enjoyment of life or property by others. See id.

       18.     The Property is presently in violation of Chapters 50 and 151 of the Code of

Ordinances of the City of Indianola, Iowa.




                                                   3
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 31 of 85
                E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT




         19.       The Property constitutes a public nuisance, and Respondents have been afforded a

reasonable opportunity to correct the dangerous or unsafe conditions to no avail.

         20.       The Property is a public nuisance and abandoned and unsafe within the meaning of

Iowa Code Chapter 657A, Iowa Code section 364.12, and Chapters 50 and 151 of the Code of

Ordinances of the City of Indianola, Iowa.

         WHEREFORE Plaintiff, City of Indianola, Iowa, respectfully requests the Court award

title to the Property described herein to the City free and clear of any and all claims, mortgages,

liens, judgments, and encumbrances held by Respondents or any other interested parties; terminate

any and all rights by said Respondents and any other unknown interested parties who hold or may

hold an interest in the Property; and grant such other relief deemed just and equitable under the

circumstances.



                                                      Respectfully submitted,

                                                      BRICK GENTRY P.C.


                                                       /s/ Allison M. Steuterman
                                                      Allison M. Steuterman (AT0007558)
                                                      6701 Westown Parkway, Suite 100
                                                      West Des Moines, Iowa 50266
                                                      Telephone: (515) 274-1450
                                                      Facsimile: (515) 274-1488
                                                      allison.steuterman@brickgentrylaw.com
                                                      ATTORNEY FOR PLAINTIFF

     NOTICE OF ELECTRONIC FILING
 Notice of Electronic Filing is sent through the
 Electronic Document Management System to all
 registered filers for the within case. A review of
 the filers in this matter indicates that all
 unregistered filer will be served with a paper
 copy and so noted in a Certificate of Service.

 Dated: May 31, 2024

 By:/s/ Lisa Anderson


                                                         4
    Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 32 of 85
               E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT



                               CERTIFICATE OF SERVICE
The undersigned certifies that a copy of the foregoing was mailed and/or emailed to the parties
listed below:

Carrie Walker
1001 Caroline Terrace
Indianola, IA 50125
walker2747@hotmail.com

United States Department of Agriculture
1400 Independence Avenue SW, Room 107W
Whitten Building
Washington, DC 20250

Warren County Iowa
c/o Warren County Treasurer
301 N. Buxton Street, Suite 102
Indianola, IA 50125

ACC 709, LLC
c/o Todd Queck, Registered Agent
3161 SE 22nd Street
Des Moines, IA 50320

Dated: May 31, 2024

By:/s/ Lisa Anderson




                                                              5
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 33 of 85
      E-FILED 2024 MAR 11 10:13 AM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 34 of 85
       E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT




         IN THE IOWA DISTRICT COURT IN AND FOR WARREN COUNTY


  CITY OF INDIANOLA, IOWA,                         Case No. EQCV039949

         Plaintiff,




  CARRIE WALKER, UNITED STATES
  DEPARTMENT OF AGRICULTURE,                           VERIFIED STATEMENT OF
  WARREN COUNTY, IOWA, and                                    PLAINTIFF
  ACC7O9,LLC,

         Defendants.



 STATE OF IOWA                 )
                               )ss
 COUNTY OF WARREN              )

        1.      Pursuant to Iowa Code section 6574.10B(7), I, Charlie Dissell, being first

 duly sworn under oath, depose, and state that I am the Deputy City Manager for Plaintiff,

 the City of Indianola, Iowa, and in support ofthe Application to Award Title to Abandoned

 Property lor the property locally known as l00l Caroline Terrace. indianola, lowa

 (hereinafter "Property"), and legally described as:

        Lot 33 in Green Hills of Indianola, an Official Replat, now included in and
        forming apart of the City of Indianola, Warren County, Iowa, and certain
        buildings andlor structures located thereon.

        The allegations set forth in the Application for Title are true and accurate I verily

 believe. This Property contains abandoned buildings that are in a dangerous or unsafe

 condition and the Property does not meet the City of Indianola's building and housing

 codes as being fit for human habitation, occupancy, or use. The Property is in violation of

 Chapters 50 and 151 of the Indianola Code of Ordinances. I have taken and provided

 photographs to counsel for Plaintiff depicting the current state of Property in support of




                                               I
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 35 of 85
         E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT




 this Verified Statement. I certify under penalty of perjury and pursuant to the laws of the

 State of Iowa that the preceding is true and correct as I verily believe.

          Dated this _lq_ day of May 2024.



                                              rG�
                                                Charlie Dissell
                                                Deputy City Manager
                                                City of Indianola, Iowa



          On this� day of May 2024, before me, a Notary Public in and for the State of

 Iowa, personally appeared Charlie Dissell to me known to be the identical person named

 herein and who executed the foregoing instrument and acknowledged that he executed the

 same as his voluntary act and deed.




     o       i  JACQUELINE RAFFETY
     • Commission Number 816510
     �      • . My Commission Expires
         ,ow..     1-Hn • 9Q9S




                                               2
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 36 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 37 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 38 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 39 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 40 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 41 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 42 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 43 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 44 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 45 of 85
      E-FILED 2024 MAY 31 12:50 PM WARREN - CLERK OF DISTRICT COURT
      Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 46 of 85
            E-FILED              EQCV039949 - 2024 MAY 31 02:05 PM             WARREN
                                    CLERK OF DISTRICT COURT                    Page 1 of 4



            IN THE IOWA DISTRICT COURT IN AND FOR WARREN COUNTY


 CITY OF INDIANOLA, IOWA,                               Case No. EQCV039949

         Plaintiff,

 v.

 CARRIE WALKER, UNITED STATES
 DEPARTMENT OF AGRICULTURE,                               ORDER AWARDING TITLE TO
 WARREN COUNTY, IOWA, and                                   ABANDONED PROPERTY
 ACC 709, LLC,                                               (Iowa Code § 657A.10B)

         Defendants.


       NOW, on this date, the matter comes before the Court on the Application to Award Title

to Abandoned Property filed by the Petitioner, City of Indianola, Iowa, under Iowa Code section

657A.10B. Having reviewed the file and being fully advised in the premises, the Court FINDS:

       1.       Petitioner is a city duly established and authorized pursuant to Iowa law, and

located in Warren County, Iowa.

       2.       Respondent, United States Department of Agriculture (hereinafter “USDA”), as

Lender, has an interest in the Property by virtue of a mortgage recorded on September 23, 2004,

in Book 2004, Page 610749 in the Office of the Warren County Recorder.

       3.       Respondent, Warren County, Iowa (hereinafter “Warren County”), has a claim

right, title, or interest in the Property by virtue of unpaid property taxes and special assessments.

       4.       Respondent, ACC 709, LLC (hereinafter “ACC 709”), has a claim right, title, or

interest in the Property by virtue of tax sale certificate 23-0135.

       5.       Respondent, Carrie Walker (hereinafter “Ms. Walker”), is an Owner or Interested

Person to the Property.




                                                  1
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 47 of 85
             E-FILED            EQCV039949 - 2024 MAY 31 02:05 PM            WARREN
                                   CLERK OF DISTRICT COURT                   Page 2 of 4



       6.      Pursuant to Iowa Code section 657A.10B(2)(b), all Respondents have been

properly served by civil process server or by publication in a newspaper of general circulation in

the City of Indianola.

       7.      Respondents have not appeared, moved, or otherwise answered.

       8.      Respondents’ failure to appear, move, or otherwise answer constitutes a default.

See Iowa R. Civ. P. 1.971(1); see also Iowa R. Civ. P. 1.303(1).

       9.      The Property has been cited for failure to comply with orders of the local housing

or building code official.

       10.     Within sixty (60) days of the filing of the Petition herein, Respondents did not make

a good faith effort to comply with the order of the local housing or building code official.

       11.     The Property does not meet the city’s building and housing codes as being fit for

human habitation, occupancy, or use for a period of more than six (6) consecutive months.

       12.     The Property is still abandoned and in a dangerous or unsafe condition for a period

of more than six (6) consecutive months.

       13.     The utility services (water, gas, electricity, garbage collection) remain discontinued

and have not been active at the Property since January 2020.

       14.     Property taxes and special assessments on the Property are delinquent.

       15.     The Property has been unoccupied for a number of years.

       16.     The City has expended significant funds and efforts in attempting to maintain the

Property and has abated dozens of violations at the City’s expense for such things as cutting

overgrown vegetation.

       17.     The buildings on the Property are blighted, unsanitary, and in such a condition that

it is likely to cause sickness or disease because of inadequate maintenance, dilapidation, decay,

damage, faulty construction or arrangement, inadequate light, air, and/or sanitary facilities.

                                                 2
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 48 of 85
             E-FILED            EQCV039949 - 2024 MAY 31 02:05 PM             WARREN
                                   CLERK OF DISTRICT COURT                    Page 3 of 4



       18.      The buildings on the Property are injurious to health and welfare, indecent,

unreasonable offensive to the senses, or an obstruction to the free use of property so as essentially

to interfere unreasonably with the comfortable enjoyment of life or property by others. See id.

       19.      The Property is presently in violation of Chapters 50 and 151 of the Code of

Ordinances of the City of Indianola, Iowa.

       20.      The Property constitutes a public nuisance, and Respondents have been afforded a

reasonable opportunity to correct the dangerous or unsafe conditions to no avail.

       21.      The Property is a public nuisance and abandoned and unsafe within the meaning of

Iowa Code Chapter 657A, Iowa Code section 364.12, and Chapters 50 and 151 of the Code of

Ordinances of the City of Indianola, Iowa.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that title to the property

locally known as 1001 Caroline Terrace, Indianola, Iowa, and legally described as:

       Lot 33 in Green Hills of Indianola, an Official Replat, now included in and forming
       a part of the City of Indianola, Warren County, Iowa, and certain buildings and/or
       structures located thereon.

is awarded to the City of Indianola, Iowa, free and clear of any claims, liens, or encumbrances held

by the Respondents.

       IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all appropriate public

officials are hereby authorized and directed to issue, for the purposes of recording, a Certificate of

Change of Title of property locally known as 1001 Caroline Terrace, Indianola, Iowa, and legally

described as:

       Lot 33 in Green Hills of Indianola, an Official Replat, now included in and forming
       a part of the City of Indianola, Warren County, Iowa, and certain buildings and/or
       structures located thereon.

to the City of Indianola, Iowa, an Iowa municipal corporation, as grantee.

       SO ORDERED.

                                                  3
 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 49 of 85
           E-FILED                     EQCV039949 - 2024 MAY 31 02:05 PM   WARREN
                                          CLERK OF DISTRICT COURT          Page 4 of 4




                                               State of Iowa Courts
Case Number                     Case Title
EQCV039949                      CITY OF INDIANOLA V CARRIE WALKER
Type:                           ORDER FOR JUDGMENT
                                                          So Ordered




Electronically signed on 2024-05-31 14:05:53
      Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 50 of 85
               E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT




                  IN THE IOWA DISTRICT COURT IN AND FOR WARREN COUNTY


 CITY OF INDIANOLA, IOWA,                                  Case No. EQCV039949

         Plaintiff,

 v.

 CARRIE WALKER, UNITED STATES
 DEPARTMENT OF AGRICULTURE,                                      AFFIDAVIT OF SERVICE
 WARREN COUNTY, IOWA, and                                         BY CERTIFIED MAIL
 ACC 709, LLC,

         Defendants.


STATE OF IOWA                    )
                                 ) ss:
COUNTY OF DALLAS                 )

        I, Lisa Anderson, being first duly sworn on oath, do depose and state as follows:

        1.        I am of legal age and have personal knowledge of all facts and matters contained in

this Affidavit.

        2.        I am a paralegal at Brick Gentry, P.C.

                                     Service upon Carrie Walker

        3.        On May 31, 2024, the undersigned personally sent by certified mail to Defendant,

Carrie Walker, a copy of the Application to Award Title to Abandoned Property with Exhibits 1-3

(Iowa Code § 657A.10B) (hereinafter “Application to Award Title”), such documents being mailed

in a sealed envelope with proper postage thereon, addressed to the above-named Defendant at her last

known Post Office address, by depositing the same on said date in a United States Post Office mail

receptacle in West Des Moines, Dallas County, Iowa. A true and accurate copy of this mailing is

attached hereto as Exhibit 1.
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 51 of 85
                E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT




        4.       On June 3, 2024, the U.S. Post Office issued the alert “Forward Expired” for this

attempted delivery. A true and accurate copy of this tracking alert is attached hereto as Exhibit 2.

Service via certified mail is unable to be completed for this Defendant.

        5.       On June 10, 2024, the undersigned emailed Defendant Carrie Walker a pdf copy of

the Application to Award Title and Order Awarding Title to Abandoned Property (Iowa Code §

657A.10B) to the email address: walker2747@hotmail.com.

                     Service upon United States Department of Agriculture

        6.       On May 31, 2024, the undersigned personally sent by certified mail to Defendant,

United States Department of Agriculture, a copy of Application to Award Title, such documents being

mailed in a sealed envelope with proper postage thereon, addressed to the above-named Defendant at

its last known Post Office address, by depositing the same on said date in a United States Post Office

mail receptacle in West Des Moines, Dallas County, Iowa. A true and accurate copy of this mailing

is attached hereto as Exhibit 3.

        7.       On June 7, 2024, Defendant United States Department of Agriculture received the

certified mailing. A true and accurate copy of the USPS Tracking is attached hereto as Exhibit 4.

                                   Service upon Warren County, Iowa

        8.       On May 31, 2024, the undersigned personally sent by certified mail to Defendant,

Warren County, Iowa, a copy of Application to Award Title, such documents being mailed in a sealed

envelope with proper postage thereon, addressed to the above-named Defendant at its last known Post

Office address, by depositing the same on said date in a United States Post Office mail receptacle in

West Des Moines, Dallas County, Iowa. A true and accurate copy of this mailing is attached hereto

as Exhibit 5.




                                                  2
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 52 of 85
      E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 53 of 85
      E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT
6/4/24, 11:52 AM   Case 4:24-cv-00274-SMR-SBJ Document
                                               USPS.com® -1-1
                                                           USPS Filed  08/08/24
                                                                Tracking® Results Page 54 of 85
                                E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT

  USPS Tracking
                                   ®                                                                                                           FAQs 




                                                                                                                                           Remove 
  Tracking Number:

  9589071052700504446523
       Copy          Add to Informed Delivery (https://informeddelivery.usps.com/)




       Latest Update
       Your item was returned to the sender at 3:23 pm on June 3, 2024 in INDIANOLA, IA 50125 because the forwarding order for this address is no
       longer valid.



       Get More Out of USPS Tracking:
           USPS Tracking Plus®

       Alert
       Forward Expired
       INDIANOLA, IA 50125
       June 3, 2024, 3:23 pm


       Forward Expired
       INDIANOLA, IA 50125
       June 3, 2024, 11:30 am


       Departed USPS Regional Facility
       DES MOINES IA DISTRIBUTION CENTER
       June 1, 2024, 9:39 am




                                                                                                                                                        Feedback
       Arrived at USPS Regional Facility
       DES MOINES IA DISTRIBUTION CENTER
       May 31, 2024, 10:11 pm


       Hide Tracking History



    What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                                                                    
     Text & Email Updates


                                                                                                                                                    
     USPS Tracking Plus®


                                                                                                                                                    
     Product Information


                                                                      See Less 

  Track Another Package

    Enter tracking or barcode numbers




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052700504446523%2C&tABt=true                                      1/2
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 55 of 85
      E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT
6/10/24, 3:16 PM    Case 4:24-cv-00274-SMR-SBJ Document
                                                USPS.com® 1-1
                                                          - USPS Filed  08/08/24
                                                                 Tracking® Results Page 56 of 85
                                  E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT

  USPS Tracking
                                     ®                                                                                                 FAQs 




                                                                                                                                     Remove 
  Tracking Number:

  9589071052700504446493
       Copy          Add to Informed Delivery (https://informeddelivery.usps.com/)




       Latest Update
       Your item was delivered to the front desk, reception area, or mail room at 7:52 am on June 7, 2024 in WASHINGTON, DC 20250.



       Get More Out of USPS Tracking:
           USPS Tracking Plus®


       Delivered
       Delivered, Front Desk/Reception/Mail Room
       WASHINGTON, DC 20250
       June 7, 2024, 7:52 am

       See All Tracking History

    What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                                                        
     Text & Email Updates


                                                                                                                                        
     USPS Tracking Plus®


                                                                                                                                        
     Product Information


                                                                     See Less 




                                                                                                                                            Feedback
  Track Another Package


    Enter tracking or barcode numbers




                                                            Need More Help?
                                              Contact USPS Tracking support for further assistance.


                                                                        FAQs




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=9589071052700504446493                                                                 1/1
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 57 of 85
      E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT
6/4/24, 11:50 AM   Case 4:24-cv-00274-SMR-SBJ Document
                                               USPS.com® -1-1
                                                           USPS Filed  08/08/24
                                                                Tracking® Results Page 58 of 85
                                  E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT

  USPS Tracking
                                      ®                                                                                     FAQs 




                                                                                                                          Remove 
  Tracking Number:

  9589071052700504446509
        Copy         Add to Informed Delivery (https://informeddelivery.usps.com/)




       Latest Update
       Your item was delivered to an individual at the address at 10:11 am on June 3, 2024 in INDIANOLA, IA 50125.



       Get More Out of USPS Tracking:
            USPS Tracking Plus®


       Delivered
       Delivered, Left with Individual
       INDIANOLA, IA 50125
       June 3, 2024, 10:11 am

       See All Tracking History

    What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                                             
      Text & Email Updates




                                                                                                                                 Feedback
                                                                                                                             
      USPS Tracking Plus®


                                                                                                                             
      Product Information


                                                                  See Less 

  Track Another Package


    Enter tracking or barcode numbers




                                                         Need More Help?
                                           Contact USPS Tracking support for further assistance.


                                                                      FAQs




https://tools.usps.com/go/TrackConfirmAction?tRef=fullpage&tLc=2&text28777=&tLabels=9589071052700504446509%2C&tABt=true               1/1
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 59 of 85
      E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 60 of 85
      E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT
6/4/24, 11:49 AM   Case 4:24-cv-00274-SMR-SBJ Document
                                               USPS.com® -1-1
                                                           USPS Filed  08/08/24
                                                                Tracking® Results Page 61 of 85
                                  E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT

  USPS Tracking
                                      ®                                                                                FAQs 




                                                                                                                     Remove 
  Tracking Number:

  9589071052700504446516
        Copy         Add to Informed Delivery (https://informeddelivery.usps.com/)




       Latest Update
       Your item was delivered to an individual at the address at 9:50 am on June 3, 2024 in DES MOINES, IA 50320.



       Get More Out of USPS Tracking:
            USPS Tracking Plus®


       Delivered
       Delivered, Left with Individual
       DES MOINES, IA 50320
       June 3, 2024, 9:50 am

       See All Tracking History

    What Do USPS Tracking Statuses Mean? (https://faq.usps.com/s/article/Where-is-my-package)


                                                                                                                        
      Text & Email Updates




                                                                                                                            Feedback
                                                                                                                        
      USPS Tracking Plus®


                                                                                                                        
      Product Information


                                                                  See Less 

  Track Another Package


    Enter tracking or barcode numbers




                                                         Need More Help?
                                           Contact USPS Tracking support for further assistance.


                                                                     FAQs




https://tools.usps.com/go/TrackConfirmAction?qtc_tLabels1=9589071052700504446516                                                 1/1
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 62 of 85
      E-FILED 2024 JUN 10 3:52 PM WARREN - CLERK OF DISTRICT COURT
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 63 of 85
             E-FILED 2024 JUN 13 12:05 PM WARREN - CLERK OF DISTRICT COURT




                               IN THE IOWA DISTRICT COURT
                               IN AND FOR WARREN COUNTY

CITY OF INDIANOLA, IOWA,                          )
                                                  )   Equity No. EQCV039949
       Plaintiff,                                 )
                                                  )
       v.                                         )   APPEARANCE
                                                  )
CARRIE WALKER, et al.,                            )
                                                  )
       Defendants.                                )


       COMES NOW Jason R. Lawrence, Assistant United States Attorney, and hereby enters

his Appearance on behalf of the United States of America in the above-captioned action.

                                                      Respectfully submitted,

                                                      Richard D. Westphal
                                                      United States Attorney


                                                 By: /s/Jason R. Lawrence
                                                     Jason R. Lawrence AT0013301
                                                     Assistant United States Attorney
                                                     210 Walnut Street, Suite 455
                                                     Des Moines, Iowa 50309
                                                     Telephone: (515) 473-9309
                                                     Facsimile: (515) 473-9282
                                                     Email: usaias.nefiadc@usdoj.gov

                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 13, 2024, I electronically filed the foregoing
with the Iowa District Court, Warren County Clerk of Court using the Electronic Document
Management System, and a true copy of the foregoing was served either electronically or by U.S.
First Class Mail upon the following:

Allison Steuterman
Dawn Bowman

                                                      /s/Jason R. Lawrence
                                                      Jason R. Lawrence
                                                      Assistant U.S. Attorney
    Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 64 of 85
             E-FILED 2024 JUN 13 12:05 PM WARREN - CLERK OF DISTRICT COURT


From:            Robinson, Bonnie (USAIAS)
To:              michael.heilman@brickgentrylaw.com
Cc:              Irwin, Suellen (USAIAS) 2; Lawrence, Jason (USAIAS)
Subject:         City of Indianola, Iowa v. Carrie Walker, et al., - Warren County No. EQCV039949
Date:            Tuesday, November 14, 2023 9:34:00 AM


Good morning Mr. Heilman,

            Your office served the United States Department of Agriculture with the Original
Notice and Petition in Equity regarding the above-subject case. The Original Notice and
Petition must be served on the United States Attorney’s Office and the Attorney General of the
United States in accordance with Title 28, United States Code, Section 2410(b).

       Please also note that the government is allowed sixty (60) days within which to
answer, and will therefore file a responsive pleading 60 days from the date served with the
Original Notice and Petition. If you have any questions, please feel free to contact AUSA
Jason Lawrence at (515) 473-9309.

Bonnie Robinson
Paralegal Specialist
US Attorney’s Office
Southern District of Iowa
110 E. Court Avenue, Suite 286
Des Moines, Iowa 50309
Phone: (515) 473-9362
Email: bonnie.robinson@usdoj.gov


This email and any files transmitted with it may contain privileged or confidential information. If
you are not the intended recipient of this information, the disclosure, copying, distribution, or the
taking of any action in reliance on this information is strictly prohibited and may be unlawful. If you
think you may not be the intended recipient, please notify the sender immediately.
       Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 65 of 85
               E-FILED 2024 JUN 13 12:05 PM WARREN - CLERK OF DISTRICT COURT




                                IN THE IOWA DISTRICT COURT
                                IN AND FOR WARREN COUNTY

CITY OF INDIANOLA, IOWA,                           )
                                                   )   Equity No. EQCV039949
         Plaintiff,                                )
                                                   )
         v.                                        )   MOTION TO SET ASIDE DEFAULT
                                                   )   JUDGMENT PURSUANT TO
CARRIE WALKER, et al.,                             )   IOWA R. CIV. P. 1.997
                                                   )
         Defendants.                               )


         Defendant United States of America, Department of Agriculture (“USDA”), through its

undersigned attorney, hereby moves the Court to set aside the default judgment against the United

States Department of Agriculture 1 pursuant to Iowa R. Civ. P. 1.977, alleging as follows.

         1.      “Under settled principles of sovereign immunity, the United States, as sovereign,

is immune from suit, save as it consents to be sued . . . and the terms of its consent to be sued in

any court define that court’s jurisdiction to entertain the suit.” United States v. Dalm, 496 U.S.

596, 608 (1990) (cleaned up). This applies to agencies of the United States, like the USDA. See

Delano Farms Co. v. California Table Grape Com’n, 655 F.3d 1337, 1343 (Fed. Cir. 2011).

         2.      The USDA is a lienholder in the real property that the City of Indianola seeks to

take by abandonment. Petition at 1 ¶ 3.

         3.      The United States has enacted a limited waiver of sovereign immunity allowing

“Actions affecting property on which United States has lien.” See generally 28 U.S.C. § 2410.

         4.      28 U.S.C. § 2410(b) sets forth specific requirements for serving the United States

with any action in a state court that affects property in which the United States has a lien:

         In actions in the State courts service upon the United States shall be made by
         serving the process of the court with a copy of the complaint upon the United States


1
    The United States does not object to the default judgment as against the remaining defendants.
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 66 of 85
             E-FILED 2024 JUN 13 12:05 PM WARREN - CLERK OF DISTRICT COURT




       attorney for the district in which the action is brought or upon an assistant United
       States attorney or clerical employee designated by the United States attorney in
       writing filed with the clerk of the court in which the action is brought and by
       sending copies of the process and complaint, by registered mail, or by certified
       mail, to the Attorney General of the United States at Washington, District of
       Columbia.

       5.      The United States “may appear and answer, plead or demur within sixty days after

such service or such further time as the court may allow.” 28 U.S.C. § 2410(b).

       6.      Nothing filed by the City of Indianola show that it served either, let alone both, the

United States Attorney for the Southern District of Iowa (or his designated clerical employee) or

the United States Attorney General in Washington D.C. See June 10, 2024, affidavit of Lisa

Anderson alleging only service upon the USDA and October 19, 2023, Affidavit of Service on the

USDA through its Office of General Counsel (the only evidence of service upon the USDA in the

record).

       7.      In fact, the United States, through its undersigned counsel’s paralegal, informed

then counsel of record for the city of the city’s failure to comply with § 2410(b)’s service

requirements on November 14, 2023. See Exhibit A to this motion. Current counsel for the city

has represented she was unaware of this correspondence.

       8.      Iowa R. Civ. P. 1.977 allows the Court to set aside a default judgment for “good

cause.” The United States, as the movant, has the burden to plead and prove good cause. Sheeder

v. Boyette, 764 N.W. 2d 778, 780 (Iowa Ct. App. 2009).

       9.      “Good cause is a sound, effective, and truthful reason. It is something more than an

excuse, a plea, apology, extenuation, or some justification for the resulting effect.” No Boundary,

LLC v. Hoosman, 953 N.W.2d 696, 700 (Iowa 2021) (quoted citation omitted).

       10.     Iowa has a “longstanding policy . . . favoring the resolution of legal disputes on the

                                                 2
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 67 of 85
              E-FILED 2024 JUN 13 12:05 PM WARREN - CLERK OF DISTRICT COURT




merits. Pursuant to this longstanding policy, default judgments are disfavored. This court will

resolve all doubt on whether a default judgment should be set aside in favor of setting aside the

default judgment.” Id. at 699 - 700 (cleaned up).

       11.     The city’s failure to properly serve the USDA after its counsel informed the city,

through the city’s counsel of record, of § 2410(b)’s service requirements is the sole and proximate

cause for the USDA’s surprise in having default entered against it.

       12.     The USDA is promptly filing this motion a day after it learned default was entered,

establishing its intent to defend against the claim. Id. at 702.

       13.     The USDA has a meritorious defense in good faith to the city’s petition. See id.

(requiring defendant’s assertion of a meritorious defense in good faith to set aside a default

judgment). The city may only bring an action affecting the lien interest of the United States for the

reasons set forth in 28 U.S.C. § 2410(a). Abandonment, as set forth in Iowa Code § 657A, is not

one of those reasons. The USDA is entitled to, after properly being served, remove this matter to

federal court and seek its dismissal for lack of subject matter jurisdiction because it has sovereign

immunity from the application of § 657A to its lien interest.

       14.     The Court should set aside the default judgment it has entered with respect to the

USDA because the City of Indianola has failed to properly serve the United Sates as required by

28 U.S.C. § 2410(b). The USDA has a meritorious defense in good faith that it plans on pursuing

once it is properly served. The USDA has met the requirements for the Court favoring Iowa’s

longstanding policy of deciding actions on the merits and setting aside the default judgment

entered against the USDA. See generally id. at 699 – 702.

       15.     The Court should order the City of Indianola to properly effect service on the


                                                   3
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 68 of 85
             E-FILED 2024 JUN 13 12:05 PM WARREN - CLERK OF DISTRICT COURT




United States, as required by 28 U.S.C. § 2410(b), within a reasonable period of time, and if the

city fails to affect service within that time, dismiss the petition as against the USDA.

       WHEREFORE the United States Department of Agriculture respectfully requests the Court

set aside the default judgment entered against it pursuant to Iowa R. Civ. P. 1.977 and order the

City of Indianola to serve the USDA consistent with the requirements of 28 U.S.C. § 2410(b)

within a reasonable time set by the Court.

                                                      Respectfully submitted,

                                                      Richard D. Westphal
                                                      United States Attorney


                                                 By: /s/Jason R. Lawrence
                                                     Jason R. Lawrence AT0013301
                                                     Assistant United States Attorney
                                                     210 Walnut Street, Suite 455
                                                     Des Moines, Iowa 50309
                                                     Telephone: (515) 473-9309
                                                     Facsimile: (515) 473-9282
                                                     Email: usaias.nefiadc@usdoj.gov


                                  CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on June 13, 2024, I electronically filed the foregoing
with the Iowa District Court, Warren County Clerk of Court using the Electronic Document
Management System, and a true copy of the foregoing was served either electronically or by U.S.
First Class Mail upon the following:

Allison Steuterman
Dawn Bowman


                                                      /s/Jason R. Lawrence
                                                      Jason R. Lawrence
                                                      Assistant U.S. Attorney



                                                  4
    Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 69 of 85
           E-FILED           EQCV039949 - 2024 JUN 13 03:58 PM          WARREN
                                CLERK OF DISTRICT COURT                 Page 1 of 3

              IN THE IOWA DISTRICT COURT FOR WARREN COUNTY


CITY OF INDIANOLA                                 Case No. 05911 EQCV039949
         Plaintiff(s)                                   Order Setting Hearing
      VS.                                                          on
CARRIE JONES
UNITES STATES DEPARTMENT OF                                      Motion
AGRICULTURE
ACC 709, LLC
WARREN COUNTY IOWA

         Defendant(s).
The United States of America has filed a motion to set aside the default judgment
entered against it on May 31, 2024.
A hearing should now be scheduled.

IT IS THEREFORE THE ORDER OF THE COURT as follows:
Hearing is scheduled on 07/02/2024 at 1:00 PM at the Warren Co Courthouse,115
N. Howard St, Indianola, IA 50125.


Any additional legal authorities not set forth in the motion or resistance must be
submitted to the Court two (2) days prior to the hearing.


HEARING SHALL BE CONDUCTED VIA ZOOM VIDEOCONFERENCE:


Join ZoomGov Meeting


https://iowacourts.zoomgov.com/j/1606179604?
pwd=eTk3dy9DaC8weXhDcGZLbkZIQzF2QT09
Meeting ID: 160 617 9604
Passcode: 649544


Dial by your location
     +1 669 254 5252 US (San Jose)
     +1 646 828 7666 US (New York)
Meeting ID: 160 617 9604
Passcode: 649544
Find your local number: https://iowacourts.zoomgov.com/u/aeeVCJNL9g
    Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 70 of 85
           E-FILED           EQCV039949 - 2024 JUN 13 03:58 PM         WARREN
                                CLERK OF DISTRICT COURT                Page 2 of 3

Videoconference hearings shall be conducted in the same manner as in-person
court hearings. All participants must dress appropriately. Participants must
behave respectfully and civilly. Participants shall locate themselves in a quiet
area that is free from noise or other distractions.


Recording or rebroadcasting of a court proceeding held by video or telephone
conference, including pictures, screenshots, or other visual or audio copying, is
prohibited absent an expanded news media coverage order. Any violation may
result in contempt of court or other sanctions. Please note judicial branch staff
may be recording this proceeding.

SO ORDERED this 13th day of June, 2024.




If you need assistance to participate in court due to a disability, call the disability
coordinator at (515) 286-3394 or information at https://www.iowacourts.gov/for-the-
public/ada/. Persons who are hearing or speech impaired may call Relay Iowa TTY
(1-800-735-2942). Disability coordinators cannot provide legal advice.
 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 71 of 85
           E-FILED                     EQCV039949 - 2024 JUN 13 03:58 PM   WARREN
                                          CLERK OF DISTRICT COURT          Page 3 of 3




                                               State of Iowa Courts
Case Number                     Case Title
EQCV039949                      CITY OF INDIANOLA V CARRIE WALKER
Type:                           ORDER SETTING HEARING
                                                          So Ordered




Electronically signed on 2024-06-13 15:58:47
             Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 72 of 85
                    E-FILED              EQCV039949 - 2024 JUN 14 10:41 AM              WARREN
                                            CLERK OF DISTRICT COURT                     Page 1 of 2

                         IOWA DISTRICT COURT IN AND FOR WARREN COUNTY

   CITY OF INDIANOLA
     Plaintiff
                                                                             05911 EQCV039949
   vs.
                                                                               ORDER
                                                                  SETtING ASIDE DEFAULT JUDGMENT
CARRIE JONES
UNITES STATES DEPARTMENT OF
AGRICULTURE
ACC 709, LLC
WARREN COUNTY IOWA

      Defendants



With the consent of the Plaintiff, the default judgment entered against the United States Department
of Agriculture on May 31, 2024, is set aside and vacated.


The Plaintiff is granted an additional 45 days to properly serve the USDA.


The hearing set for July 2, 2024 is canceled.




If you need assistance to participate in court due to a disability, call the disability coordinator at (515) 286-3394 or
information at https://www.iowacourts.gov/for-the-public/ada/. Persons who are hearing or speech impaired may call Relay
Iowa TTY (1-800-735-2942). Disability coordinators cannot provide legal advice.

5RCV01
 Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 73 of 85
           E-FILED                     EQCV039949 - 2024 JUN 14 10:41 AM   WARREN
                                          CLERK OF DISTRICT COURT          Page 2 of 2




                                               State of Iowa Courts
Case Number                     Case Title
EQCV039949                      CITY OF INDIANOLA V CARRIE WALKER
Type:                           OTHER ORDER
                                                          So Ordered




Electronically signed on 2024-06-14 10:41:40
      Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 74 of 85
              E-FILED 2024 JUN 14 9:52 AM WARREN - CLERK OF DISTRICT COURT




            IN THE IOWA DISTRICT COURT IN AND FOR WARREN COUNTY


 CITY OF INDIANOLA, IOWA,                             Case No. EQCV039949

         Plaintiff,

 v.

 CARRIE WALKER, UNITED STATES
 DEPARTMENT OF AGRICULTURE,                           PLAINTIFF’S STIPULATION/NON-
 WARREN COUNTY, IOWA, and                             RESISTANCE TO MOTION TO SET
 ACC 709, LLC,                                          ASIDE DEFAULT JUDGMENT

         Defendants.


       COMES NOW the Plaintiff, City of Indianola, Iowa, by and through its undersigned

counsel, and for its Stipulation/Non-Resistance to Motion to Set Aside Judgment, states to the

Court as follows:

       1.       On September 20, 2023, Plaintiff filed an Original Notice and Petition in Equity

pursuant to Iowa Code section 657A.10B for the property locally known as 1001 Caroline Terrace,

Indianola, Iowa, and legally described as:

       Lot 33 in Green Hills of Indianola, an Official Replat, now included in and forming
       a part of the City of Indianola, Warren County, Iowa, and certain buildings and/or
       structures located thereon.

(hereinafter referred to as the “Property”).

       2.       Respondent, United States Department of Agriculture (hereinafter “USDA”), was

served the Original Notice and Petition on October 18, 2023 as evidenced by the Return of Service

filed on October 19, 2023.

       3.       However, the USDA is correct when it states in its Motion to Set Aside Default

Judgement that Plaintiff did not serve the United States Attorney for the Southern District of Iowa




                                                1
     Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 75 of 85
                 E-FILED 2024 JUN 14 9:52 AM WARREN - CLERK OF DISTRICT COURT




(or his designated clerical employee) or the United States Attorney General in Washington D.C.

as required by 28 U.S.C. § 2410(b).

         4.        Such failure was an oversight and Plaintiff wishes to correct same.

         5.        Undersigned counsel has been in contact with counsel for the USDA and the parties

are in discussions on potential resolution of the matter.

         6.        Plaintiff stipulates to and does not resist the Motion to Set Aside Default Judgment

filed by the USDA and further requests an additional forty-five (45) days to obtain proper service

upon the USDA and to continue discussion of potential resolution.

         WHEREFORE Plaintiff, City of Indianola, Iowa, stipulates to and does not resist the

Motion to Set Aside Default Judgment filed by the USDA and request the Court grant it an

additional forty-five (45) days to obtain proper service upon the USDA.



                                                      Respectfully submitted,

                                                      BRICK GENTRY P.C.


                                                       /s/ Allison M. Steuterman
                                                      Allison M. Steuterman (AT0007558)
                                                      6701 Westown Parkway, Suite 100
                                                      West Des Moines, Iowa 50266
                                                      Telephone: (515) 274-1450
                                                      Facsimile: (515) 274-1488
                                                      allison.steuterman@brickgentrylaw.com
                                                      ATTORNEY FOR PLAINTIFF

     NOTICE OF ELECTRONIC FILING
 Notice of Electronic Filing is sent through the
 Electronic Document Management System to all
 registered filers for the within case. A review of
 the filers in this matter indicates that all
 unregistered filer will be served with a paper
 copy and so noted in a Certificate of Service.

 Dated: June 14, 2024.

 By:/s/ Lisa Anderson


                                                         2
    Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 76 of 85
                E-FILED 2024 JUN 14 9:52 AM WARREN - CLERK OF DISTRICT COURT



                               CERTIFICATE OF SERVICE
The undersigned certifies that a copy of the foregoing was mailed and/or emailed to the parties
listed below:

Carrie Walker
1001 Caroline Terrace
Indianola, IA 50125
walker2747@hotmail.com

United States Department of Agriculture
1400 Independence Avenue SW, Room 107W
Whitten Building
Washington, DC 20250

Warren County Iowa
c/o Warren County Treasurer
301 N. Buxton Street, Suite 102
Indianola, IA 50125

ACC 709, LLC
c/o Todd Queck, Registered Agent
3161 SE 22nd Street
Des Moines, IA 50320

Dated: June 14, 2024

By:/s/ Lisa Anderson




                                                              3
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 77 of 85
      E-FILED 2024 JUN 18 4:10 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 78 of 85
      E-FILED 2024 JUN 18 4:10 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 79 of 85
      E-FILED 2024 JUN 18 4:10 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 80 of 85
      E-FILED 2024 JUN 18 4:10 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 81 of 85
      E-FILED 2024 JUN 18 4:10 PM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 82 of 85
      E-FILED 2024 JUL 12 10:54 AM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 83 of 85
      E-FILED 2024 JUL 12 10:54 AM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 84 of 85
      E-FILED 2024 JUL 12 10:54 AM WARREN - CLERK OF DISTRICT COURT
Case 4:24-cv-00274-SMR-SBJ Document 1-1 Filed 08/08/24 Page 85 of 85
       E-FILED 2024 JUL 12 8:53 AM WARREN - CLERK OF DISTRICT COURT
